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                          SAMPLE NOTICE OF MANUAL FILING

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Plaintiff [insert name here]               )        Case No. [Insert case number and initials of
                                           )        presiding Judge here]
            v.                             )
                                           )
Defendant [insert name here]               )        Notice of Manual Filing

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